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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                  Filed: March 19, 2014

* * * * * *       *   *   *   *   *   *   * *
JOHN CRANE,                                 *       UNPUBLISHED
                                            *
                                            *       No. 11-732v
               Petitioner,                  *
                                            *       Special Master Dorsey
 v.                                         *
                                            *       Attorneys’ Fees and Costs;
 SECRETARY OF HEALTH                        *       Reasonable Amount Requested to which
 AND HUMAN SERVICES,                        *       Respondent Does not Object.
                                            *
               Respondent.                  *
                                            *
 * * * * * * * * * * * * *
Tamatha A . Stevens, Stevens & Associates, P.C., Indianapolis, IN, for petitioner.
Jennifer L. Reynaud, U.S. Department of Justice, Washington, D.C., for respondent.

                      ATTORNEY’S FEES AND COSTS DECISION1

        On November 3, 2011, John Crane (petitioner), filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that he suffered left arm pain and muscle wasting that was “caused in fact” by his receipt of an
influenza vaccine on November 7, 2009. See Petition at Preamble. On August 30, 2013, a
decision awarding compensation to petitioner based on the parties’ stipulation was entered.

       On March 18, 2014, petitioner filed a Stipulation of Facts Concerning Final Attorney’s

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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Fees and Costs. According to the stipulation, the parties stipulate to an award to petitioner of
attorney’s fees and costs in the amount of $15,863.50. In accordance with General Order #9,
petitioner’s counsel represents that petitioner has not incurred any out-of-pocket expenses in
pursuing his petition.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

           in the form of a check jointly payable to petitioner and Ms. Tamatha A. Stevens of the
           law firm of Stevens & Associates, P.C., in the amount of $15,863.50.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                               s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                 2
